                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                  Case No. 15-15653-PS
CATHERINE ANNE WILLIAMSON                                                               Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0970-2           User: rootk                  Page 1 of 2                   Date Rcvd: Sep 08, 2020
                               Form ID: pdf010              Total Noticed: 42


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 10, 2020.
db              +CATHERINE ANNE WILLIAMSON,     2272 S. MCCLELLAND PL.,    CHANDLER, AZ 85286-7632
aty             +MICHAEL D MAZUR,    MAZUR & BROOKS, A PROFESSIONAL LAW CORP,     2355 RED ROCK STREET SUITE 100,
                  LAS VEGAS, NV 89146-3106
intp            +Robert Williamson III,     Wesbrooks Law Firm PLLC,    15396 N. 83rd Ave.,   Ste. C100,
                  Peoria, AZ 85381-5627
cr              +SunTrust Mortgage Inc.,     1001 Semmes Avenue,    Richmond, VA 23224-2245
cr              +Suntrust Mortgage, Inc,     Bankruptcy Department RVW 3034,    PO Box 27767,
                  Richmond, VA 23261-7767
cr              +Suntrust Mortgage, Inc,     Bankruptcy Department RVW 3034,    PO Box 27767,
                  Richmond, VA 23261-7767
cr               Truist Bank,    RVW 3034,    Richmond, VA 23261
cr              +UNITED STATES OF AMERICA (IRS),     US Attorney’s Office,    40 N Central Ave,    Suite 1800,
                  Phoenix, AZ 85004,      UNITED STATES 85004-0932
cr               Victoria Gunvalson,     c/o Fennemore Craig, P.C.,    One S.Church Avenue,   Suite 1000,
                  Tucson, AZ 85701-1627
13873271         AMERICAN EXPRESS,    P.O. BOX 297879,    Fort Lauderdale FL 33329-7879
14460751        +AMEX,    PO BOX 297871,    FORT LAUDERDALE, FL 33329-7871
14460754        +ARDEN PARK HOA,    PO BOX 60668,    PHOENIX, AZ 85082-0668
14460753        +BAILUS COOK & KELESIS, LTD,     517 SOUTH 9TH STREET,    LAS VEGAS, AZ 89101-7010
13873273       ++BANK OF AMERICA,    PO BOX 982238,    EL PASO TX 79998-2238
                (address filed with court: Bk Of Amer,      Po Box 982238,    El Paso TX 79998)
14460750        +CALIFORNIA BUSINESS BU,     4542 RUFFNER ST STE 160,    SAN DEIGO, CA 92111-2238
13873274        +Cbna/SEARS,    Po Box 6283,    Sioux Falls SD 57117-6283
14460755         DALLAS COUNTY TAX,    ASSESSOR,    PO BOX 139066,    DALLAS, TX 75313-9066
14460667        +DESCIACCA GLASSWARE 1,     SOURCE,   81 W BOSTON,    CHANDLER, AZ 85225-7801
13913484        +JPMorgan Chase Bank, N.A.,     David W. Cowles,    2525 E. Camelback Rd, Ste 700,
                  Phoenix, AZ 85016-4229
13873279        +Mcydsnb,    9111 Duke Blvd,    Mason OH 45040-8999
14460422      +++NEIGHBORHOOD CREDIT UN,     PO BOX 803476,   Dallas TX 75380-3476
14460419        +NET REP MARKETING,    840 S RANCHO DRIVE,    SUITE 4316,    LAS VEGAS, NV 89106-3837
13873280        +Rui Credit Services In,     1305 Walt Whitman Rd Ste,    Melville NY 11747-4849
14460420        +STAN,    JOHNSON-COHEN/JOHNSON, LLC,    255 E WARM SPRINGS ROAD,    LAS VEGAS, NV 89119-4233
13898462         SunTrust Mortgage, Inc.,     Bankruptcy Department RVW 3034,    PO Box 27767 Richmond, VA 23261
13873281        +Suntrust Mortgage/Cc 5,     1001 Semmes Ave,    Richmond VA 23224-2245
13873276       ++US BANK,    PO BOX 5229,    CINCINNATI OH 45201-5229
                (address filed with court: Elan Financial Service,       777 E Wisconsin Ave,    Milwaukee WI 53202)
14460418        +VICTORIA GUNVALSON,     C/O LAW OFFICE OF HAYES & WELSH,    199 N ARROYO GRANDE BLVD,    SUITE 200,
                  HENDERSON, NV 89074-1609
13873283        +ZWICKER & ASSOCIATES, P.C.,     1225 W. WASHINGTON STREET, STE. 110,    Tempe AZ 85281-1237

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty            +E-mail/Text: mail@rexandersonlaw.com Sep 09 2020 03:41:30        Rex C. Anderson,
                 Law Office of Rex C. Anderson, P.C.,     Suite B111-471,    15029 N. Thompson Peak,
                 Scottsdale, AZ 85260-2217
smg             E-mail/Text: bankruptcynotices@azdor.gov Sep 09 2020 03:39:31        AZ DEPARTMENT OF REVENUE,
                 BANKRUPTCY & LITIGATION,    1600 W. MONROE, 7TH FL.,     PHOENIX, AZ 85007-2650
md             +E-mail/Text: mail@rexandersonlaw.com Sep 09 2020 03:41:30        Rex C Anderson,
                 LAW OFFICE OF REX C ANDERSON PC,     15029 N THOMPSON PEAK PARKWAY,    SUITE B111-471,
                 SCOTTSDALE, AZ 85260-2217
cr             +E-mail/Text: bankruptcymortgage@suntrust.com Sep 09 2020 03:40:38        SunTrust Bank,
                 Bankruptcy Department,    VA - RVW - 3034,    P.O. BOX 27767,    RICHMOND, VA 23261-7767
14460756       +E-mail/Text: banko@acsnv.com Sep 09 2020 03:41:56       ALLIED COLLECTION SERV,
                 3080 S DURANGO DR STE 20,    LAS VEGAS, NV 89117-9194
13873272       +E-mail/Text: bankruptcynotices@azdor.gov Sep 09 2020 03:39:31        ARIZONA DEPARTMENT OF REVENUE,
                 BANKRUPTCY DIVISION FIELD 1011,    1600 W MONROE 7TH FLOOR,     Phoenix AZ 85007-2612
14031706        E-mail/Text: bnc-quantum@quantum3group.com Sep 09 2020 03:40:53
                 Department Store National Bank,    c/o Quantum3 Group LLC,     PO Box 657,
                 Kirkland, WA 98083-0657
13873277       +E-mail/Text: sbse.cio.bnc.mail@irs.gov Sep 09 2020 03:40:18        IRS,   P O BOX 7346,
                 Philadelphia PA 19101-7346
13873275        E-mail/PDF: ais.chase.ebn@americaninfosource.com Sep 09 2020 03:51:57        Chase Card,
                 Po Box 15298,    Wilmington DE 19850
13873278        E-mail/PDF: ais.chase.ebn@americaninfosource.com Sep 09 2020 03:52:50        Jpm Chase,
                 Po Box 24696,    Columbus OH 43224
13987844       +E-mail/Text: bankruptcydpt@mcmcg.com Sep 09 2020 03:41:04        Midland Funding, LLC,
                 PO Box 2011,   Warren MI 48090-2011
14039266        E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 09 2020 03:52:57
                 Portfolio Recovery Associates, LLC,     POB 12914,   Norfolk VA 23541
13873282       +E-mail/PDF: gecsedi@recoverycorp.com Sep 09 2020 03:52:40        Syncb/Care Credit,
                 950 Forrer Blvd,    Kettering OH 45420-1469
                                                                                               TOTAL: 13



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                                      Form ID: pdf010                    Total Noticed: 42


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                AMERICAN EXPRESS CENTURION BANK
cr                Bank of America, National Association, as Assignee
cr                JPMORGAN CHASE BANK NA
cr                Truist Bank, successor by merger to SunTrust Bank
14460668          HOSPITAL H SAN JOSE DEL CABO,    CARRETERA TRANSPENISULAR KM 24.5,     FRACCION C-1, COL. CERRO,
                   COLORADO,    SAN JOSE DEL CABO, B.C.S., CP,    23406
14460421          MEDICA LOS CABOS,    ZARAGOZA S-N, COL. 5 DE,    FEBRERO,   SAN JOSE DEL CABO, BAJA,
                   CALIFORNIA SUR
sp             ##+MARK WESBROOKS,    THE WESBROOKS LAW FIRM,    8151 E INDIAN BEND ROAD,    SUITE 115,
                   SCOTTSDALE, AZ 85250-4826
14460752       ##+ANITA RENNER,    12224 E BIRCHWOOD PLACE,    CHANDLER, AZ 85249-5134
14460417        ##TATE & KIRLIN ASSOCIATES,    2810 SOUTHHAMPTON ROAD,    PHILADELPHIA, PA 19154-1207
                                                                                                 TOTALS: 6, * 0, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’+++’ were transmitted to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(e).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 10, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 4, 2020 at the address(es) listed below:
              ANNE ELIZABETH NELSON    on behalf of Creditor    UNITED STATES OF AMERICA (IRS)
               anne.nelson@usdoj.gov, cathy.cuttitta@usdoj.gov,CaseView.ECF@usdoj.gov
              ANTHONY W. AUSTIN    on behalf of Creditor Victoria Gunvalson aaustin@fclaw.com,
               gkbacon@fclaw.com
              DAVID WINTHROP COWLES    on behalf of Creditor    JPMORGAN CHASE BANK NA ecf@tblaw.com,
               gxh@tblaw.com
              HELEN ELIZABETH WELLER    on behalf of Creditor    Dallas County beth.weller@publicans.com
              LEONARD 3 MCDONALD, JR.    on behalf of Creditor    JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
               ecf@tblaw.com
              MARK WESBROOKS     on behalf of Interested Party Robert Williamson III wesbrooksefax@gmail.com
              MARK WESBROOKS     on behalf of Debtor CATHERINE ANNE WILLIAMSON wesbrooksefax@gmail.com
              MARK WESBROOKS     on behalf of Debtor ROBERT LANCASTER WILLIAMSON, III wesbrooksefax@gmail.com
              MARK WESBROOKS     on behalf of Special Counsel MARK WESBROOKS wesbrooksefax@gmail.com
              MARY K. FARRINGTON-LORCH    on behalf of Creditor    AMERICAN EXPRESS CENTURION BANK
               MaryKFL@farringtonlorchlaw.com, ecf@farringtonlorchlaw.com
              NATHAN FREDERICK JONES SMITH    on behalf of Creditor    Truist Bank, successor by merger to
               SunTrust Bank nathan@mclaw.org, AZ_ECF@mclaw.org,mcecfnotices@ecf.courtdrive.com
              NATHAN FREDERICK JONES SMITH    on behalf of Creditor    Bank of America, National Association, as
               Assignee to Banc of America Mortgage Capital Corporation nathan@mclaw.org, AZ_ECF@mclaw.org,
               mcecfnotices@ecf.courtdrive.com
              RUSSELL BROWN     on behalf of Trustee RUSSELL BROWN ecfmailclient@ch13bk.com
              RUSSELL BROWN     ecfmailclient@ch13bk.com
              Rachel Elizabeth Flinn    on behalf of Trustee RUSSELL BROWN rflinn@ch13bk.com, dsmith@ch13bk.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                               TOTAL: 16




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      8QWLOWKH&RXUWFRQILUPVWKH3ODQWKH7UXVWHHZLOOPDNHDGHTXDWHSURWHFWLRQSD\PHQWVXQGHU6HFWLRQ &  D EHORZPRUWJDJH
        FRQGXLWSD\PHQWVXQGHU6HFWLRQ &  E LIDSSOLFDEOHDQGSD\RWKHUVXPVDVRUGHUHGE\WKH&RXUW2WKHUGLVEXUVHPHQWVZLOO
        EHPDGHDIWHUWKH&RXUWFRQILUPVWKH3ODQ8QOHVVRWKHUZLVHSURYLGHGIRULQ6HFWLRQ + EHORZGLVEXUVHPHQWVE\WKH7UXVWHH
        VKDOOEHSURUDWDZLWKLQFODVVHVDQGPDGHLQWKHIROORZLQJRUGHU

          D $GHTXDWHSURWHFWLRQSD\PHQWVWRFUHGLWRUVVHFXUHGE\SHUVRQDOSURSHUW\

                 1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ &  D LVQRWWREHFRPSOHWHG

3XUVXDQWWR/RFDO5XOHWKH7UXVWHHLVDXWKRUL]HGWRPDNHPRQWKO\SUHFRQILUPDWLRQDGHTXDWHSURWHFWLRQSD\PHQWVWRDVHFXUHG
FUHGLWRUZLWKRXWD&RXUWRUGHUSURYLGHGWKHFODLPLVSURSHUO\OLVWHGRQ6FKHGXOH'DVHFXUHGSURRIRIFODLPLVILOHGWKDWLQFOXGHV
GRFXPHQWDWLRQHYLGHQFLQJDSHUIHFWHGVHFXULW\DJUHHPHQWDQGWKH'HEWRURUFUHGLWRUVHQGVDOHWWHUWRWKH7UXVWHHUHTXHVWLQJSD\PHQW
7KH7UXVWHHZLOODSSO\DGHTXDWHSURWHFWLRQSD\PHQWVWRWKHFUHGLWRU¶VVHFXUHGFODLP$IWHUFRQILUPDWLRQDGHTXDWHSURWHFWLRQ
SD\PHQWVZLOOFRQWLQXHXQWLOWKHFODLPLVSDLGLQIXOOXQOHVVWKHFRQILUPHG3ODQRUD&RXUWRUGHUVSHFLILHVDGLIIHUHQWWUHDWPHQW,ID
FUHGLWRUGLVDJUHHVZLWKWKHDPRXQWRIWKHSURSRVHGDGHTXDWHSURWHFWLRQSD\PHQWVRUWKH3ODQIDLOVWRSURYLGHIRUVXFKSD\PHQWVWKH
FUHGLWRUPD\ILOHDQREMHFWLRQWRFRQILUPDWLRQRIWKLV3ODQDQGRUILOHDPRWLRQSXUVXDQWWR&RGHRU

                                 &UHGLWRU                            3URSHUW\'HVFULSWLRQ            &ROODWHUDO9DOXH          0RQWKO\$PRXQW

/RFDO)RUP                                                    &KDSWHU3ODQ                                                    3DJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                   %HVW&DVH%DQNUXSWF\




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   1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ +

          E 0RUWJDJH&RQGXLW3D\PHQWV

                  1RQH

                   7KH7UXVWHHVKDOOGLVEXUVH&RQGXLW3D\PHQWVWRD5HDO3URSHUW\&UHGLWRUZLWKRXWUHJDUGWRZKHWKHUWKH&RXUWKDV
                   FRQILUPHGD3ODQRUWKH5HDO3URSHUW\&UHGLWRUKDVILOHGDSURRIRIFODLP6HH6HFWLRQ &  F DQG/RFDO5XOH

      $GPLQLVWUDWLYHH[SHQVHV&RGH D  

          D $WWRUQH\IHHV'HEWRU¶VDWWRUQH\KDVDJUHHGWR

                  3XUVXDQW WR WKH 6WLSXODWHG 2UGHU &RQILUPLQJ 6L[WK $PHQGHG &KDSWHU  3ODQ DV WR -RLQWO\ $GPLQLVWHUHG &DVHV GDWHG
              'HFHPEHU   >'RF @ 'HEWRUV¶ &RXQVHO 0DUN :HVEURRNV 7KH :HVEURRNV /DZ )LUP 3//& LV DOORZHG DQ
              DGPLQLVWUDWLYH FODLP LQ WKH WRWDO VXP RI  DQG DQ DOORZHG XQVHFXUHG QRQSULRULW\ FODLP LQ WKH DPRXQW RI
               7KHXQSDLG VXPRIWKHDGPLQLVWUDWLYH FODLPLQWKHVXP RIVKDOO EH SDLG WKH 7UXVWHH DV DQ DOORZHG
              DGPLQLVWUDWLYHFODLPVXEMHFWRQO\WRFODLPVRIKLJKHURUHTXDOSULRULW\6XFKIHHVGRQRWLQFOXGHFRPSHQVDWLRQIRUVHUYLFHV
              UHODWHGWRVDLG&RXQVHO¶VDSSRLQWPHQWDV6SHFLDO&RXQVHOWRWKH(VWDWHRUIRUVHUYLFHVUHODWHGWRWKH000SURJUDPZKLFK
              DUHRUVKDOOEHJRYHUQHGE\VHSDUDWH2UGHUV

               D  )RU WKH )LUVW 0RGLILHG 3ODQ 'HEWRU V DWWRUQH\ UHFHLYHG  EHIRUH ILOLQJ 7KH EDODQFH RI  RU DQ DPRXQW
              DSSURYHGE\WKH&RXUWXSRQDSSOLFDWLRQVKDOOEHSDLGE\WKHWUXVWHHDVDOORZHGDGPLQLVWUDWLYHH[SHQVHV

          E $GGLWLRQDO6HUYLFHV&RXQVHOIRUWKH'HEWRUKDVDJUHHGWRFKDUJHDIODWIHHIRUWKHIROORZLQJDGGLWLRQDOVHUYLFHVSURYLGHGWR
             WKH'HEWRU

             L          %HIRUH&RQILUPDWLRQ
                          $GYHUVDU\SURFHHGLQJV
                          /LHQ$YRLGDQFH$FWLRQV
                          3UHSDULQJDQGILOLQJRIDQ\PRWLRQWRVHOOSURSHUW\
                          2WKHU)ODW)HHVIRU

             LL         $IWHU&RQILUPDWLRQ
                          3UHSDULQJDQGILOLQJRI0RGLILHG3ODQ
                          5HVSRQGLQJWRPRWLRQWRGLVPLVVDQGDWWHQGDQFHDWKHDULQJV
                          'HIHQGLQJPRWLRQIRUUHOLHIIURPWKHDXWRPDWLFVWD\
                          $GYHUVDU\SURFHHGLQJV
                          /LHQ$YRLGDQFH$FWLRQV
                          3UHSDULQJDQGILOLQJRIDQ\PRWLRQWRVHOOSURSHUW\
                          2WKHU)ODW)HHVIRU

              $OORWKHUDGGLWLRQDOVHUYLFHVZLOOEHELOOHGDWWKHUDWHRISHUKRXUIRUDWWRUQH\WLPHDQGSHUKRXUIRUSDUDOHJDO
              WLPH&RXQVHOZLOOILOHDQGQRWLFHDVHSDUDWHIHHDSSOLFDWLRQGHWDLOLQJWKHDGGLWLRQDOIHHVDQGFRVWVUHTXHVWHG&RXQVHOZLOO
              LQFOXGHDOOWLPHH[SHQGHGLQWKHFDVHLQWKHVHSDUDWHIHHDSSOLFDWLRQ

          F 2WKHU3URIHVVLRQDO([SHQVHV

                  D )RUWKH)LUVW0RGLILHG3ODQ'HEWRU VDWWRUQH\UHFHLYHGEHIRUHILOLQJ7KHEDODQFHRIRUDQDPRXQW
                 DSSURYHGE\WKH&RXUWXSRQDSSOLFDWLRQVKDOOEHSDLGE\WKHWUXVWHHDVDOORZHGDGPLQLVWUDWLYHH[SHQVHV



      /HDVHVDQG8QH[SLUHG([HFXWRU\&RQWUDFWV

            1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ &  LVQRWWREHFRPSOHWHG

         3XUVXDQWWR&RGH E WKH'HEWRUDVVXPHVRUUHMHFWVWKHIROORZLQJOHDVHRUXQH[SLUHGH[HFXWRU\FRQWUDFW)RUDOHDVHRU
         H[HFXWRU\FRQWUDFWZLWKVXPVRZLQJWKHDUUHDUDJHZLOOEHFXUHGE\SHULRGLFSODQSD\PHQWV8QOHVVWKH&RXUWRUGHUVRWKHUZLVH
/RFDO)RUP                                                &KDSWHU3ODQ                                                        3DJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                   %HVW&DVH%DQNUXSWF\




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         WKHDUUHDUDJHDPRXQWVKDOOEHWKHDPRXQWVWDWHGLQWKHFUHGLWRU¶VDOORZHGSURRIRIFODLP

          D $VVXPHG

              1RLQWHUHVWZLOOEHSDLGRQWKHSUHSHWLWLRQDUUHDUDJHXQOHVVRWKHUZLVHVWDWHGLQ1RQVWDQGDUG3URYLVLRQVDW6HFWLRQ + $
              FUHGLWRULGHQWLILHGLQWKLVSDUDJUDSKPD\PDLOWRWKH'HEWRUDOOFRUUHVSRQGHQFHQRWLFHVVWDWHPHQWVSD\PHQWFRXSRQV
              HVFURZQRWLFHVDQGGHIDXOWQRWLFHVFRQFHUQLQJDQ\FKDQJHWRWKHPRQWKO\SD\PHQWRULQWHUHVWUDWHZLWKRXWVXFKEHLQJD
              YLRODWLRQRIWKHDXWRPDWLFVWD\

                                 &UHGLWRU                               3URSHUW\'HVFULSWLRQ            (VWLPDWHG$UUHDUDJH    $UUHDUDJH7KURXJK
                                                                                                             $PRXQW                    'DWH

                 1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ +

          E 5HMHFWHG

                                          &UHGLWRU                                                    3URSHUW\'HVFULSWLRQ

                 1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ +

      &UHGLWRUVZLWKD6HFXULW\,QWHUHVWLQ5HDO3URSHUW\

            1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ &  LVQRWWREHFRPSOHWHG

          D &ODLP:KROO\8QVHFXUHG7KH'HEWRUFRQVLGHUVDQ\UHDOSURSHUW\FUHGLWRUOLVWHGEHORZWRKDYHDQXQVHFXUHGFODLPXQGHU
             &RGH D DVVHQLRUOLHQVDUHJUHDWHULQDPRXQWWKDQWKHYDOXHRIWKHUHDOSURSHUW\8QOHVVGLVDOORZHGRURWKHUZLVH
             RUGHUHGHDFKRIWKHIROORZLQJVKDOOEHFODVVLILHGDVDZKROO\XQVHFXUHGFODLPXQGHU6HFWLRQ &  EHORZ7KLVSURYLVLRQ
             VKDOOQRWDOWHUWKHVWDWXVRIDFODLPRWKHUZLVHHQWLWOHGWREHFODVVLILHGDVDSULRULW\XQGHU&RGH D  

                                 &UHGLWRU                               3URSHUW\'HVFULSWLRQ             9DOXHRI&ROODWHUDO     7RWDO$PRXQWRI
                                                                                                                                /LHQVZLWK*UHDWHU
                                                                                                                                     3ULRULW\
               121(

          E 1R3UH3HWLWLRQ0RUWJDJH$UUHDUV5HJXODUSRVWSHWLWLRQPRUWJDJHSD\PHQWVVKDOOEHSDLGGLUHFWO\E\WKH'HEWRU V WRWKH
             VHFXUHGFUHGLWRURWKHH[WHQWWKHUHDUHQRSUHSHWLWLRQDUUHDUVUHJXODUSRVWSHWLWLRQPRUWJDJHSD\PHQWVVKDOOEHSDLGGLUHFWO\
             E\WKH'HEWRUWRWKHVHFXUHGFUHGLWRU

                                     &UHGLWRU                                      3URSHUW\$GGUHVV                     3RVW3HWLWLRQ3D\PHQWVE\
                                                                                                                                  'HEWRU
               $5'(13$5.+2$                                        60F&/(//$1'3/$&(&KDQGOHU$=                                   
                                                                     0DULFRSD&RXQW\

               6XQWUXVW0RUWJDJH&F                                60F&/(//$1'3/$&(&KDQGOHU$=              0D\EH0RGLILHG
                                                                     0DULFRSD&RXQW\                           E\&$5(6$FW)RUEHDUDQFHV

          F &XULQJRI'HIDXOWDQG0DLQWHQDQFHRI3D\PHQWV3UHSHWLWLRQDUUHDUDJHVLQFOXGLQJIHHVDQGFRVWVDVZHOODVWKHUHJXODU
             SRVWSHWLWLRQSD\PHQWVVKDOOEHSDLGWKURXJKWKH3ODQE\WKH7UXVWHH1RLQWHUHVWZLOOEHSDLGRQWKHSUHSHWLWLRQDUUHDUDJH
             XQOHVVRWKHUZLVHVWDWHGLQ1RQVWDQGDUG3URYLVLRQV8QOHVVWKH&RXUWRUGHUVRWKHUZLVHWKHDUUHDUDJHDPRXQWVKDOOEHWKH
             DPRXQWVWDWHGLQWKHFUHGLWRU¶VDOORZHGSURRIRIFODLP

              $FUHGLWRULGHQWLILHGLQWKLVSDUDJUDSKPD\PDLOWKH'HEWRUDOOFRUUHVSRQGHQFHQRWLFHVVWDWHPHQWVSD\PHQWFRXSRQV
              HVFURZQRWLFHVDQGGHIDXOWQRWLFHVFRQFHUQLQJDQ\FKDQJHWRWKHPRQWKO\SD\PHQWRULQWHUHVWUDWHZLWKRXWYLRODWLQJWKH
              DXWRPDWLFVWD\




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6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                    %HVW&DVH%DQNUXSWF\




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                 &UHGLWRURU3URSHUW\               3URSHUW\'HVFULSWLRQ      &XUUHQW0RQWKO\          (VWLPDWHG      $UUHDUDJH       ,QWHUHVW
                  6HUYLFLQJ$JHQW                                                 3D\PHQW            $UUHDUDJH$PRXQW    $PRXQW         5DWHLI
                                                                                                           2ZHG            2ZHG         DSSOLFDEOH
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               7$;$66(6625                      /$1('DOODV7;                                  \HDUDQG
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               7$;$66(6625                      /$1('DOODV7;                                 \HDUVDQG 
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                 1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ + 

      &ODLPV6HFXUHGE\3HUVRQDO3URSHUW\RUD&RPELQDWLRQRI5HDODQG3HUVRQDO3URSHUW\

            1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ &  LVQRWWREHFRPSOHWHG

              &ODLPVXQGHUSDUDJUDSKV D DQG E WKDWDUHLQFOXGHGLQWKHSODQSD\PHQWZLOOEHSDLGFRQFXUUHQWO\DQGSURUDWD

          D 8QPRGLILHG6HFXUHG&ODLPV

                 1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ &  D LVQRWWREHFRPSOHWHG

              $FODLPVWDWHGLQWKLVVXESDUDJUDSK LHFODLPV ZLOOEHSDLGLQIXOOXQGHUWKH3ODQZLWKLQWHUHVWDWWKHUDWHVWDWHGEHORZ
              ZKLFKPD\YDU\IURPWKHFRQWUDFWLQWHUHVWUDWH8QOHVVRWKHUZLVHRUGHUHGWKHSULQFLSDODPRXQWWREHSDLGZLOOEHDVVWDWHGLQ
              WKHFUHGLWRU¶VSURRIRIFODLP7KHKROGHURIDFODLPZLOOUHWDLQWKHOLHQXQWLOWKHHDUOLHURISD\PHQWRIWKHXQGHUO\LQJGHEW
              GHWHUPLQHGXQGHUQRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHU&RGHDWZKLFKWLPHWKHOLHQZLOOWHUPLQDWHDQGVKDOOEH
              UHOHDVHGE\WKHFUHGLWRU)HGHUDOWD[OLHQVVKDOOFRQWLQXHWRDWWDFKWRSURSHUW\H[FOXGHGIURPWKHEDQNUXSWF\HVWDWHXQGHU
              &RGH F  XQWLOWKH,QWHUQDO5HYHQXH6HUYLFHLVUHTXLUHGWRUHOHDVHWKHOLHQVLQDFFRUGDQFHZLWKQRQEDQNUXSWF\ODZ
                             &UHGLWRU                          3URSHUW\'HVFULSWLRQ              (VWLPDWHG$PRXQWWR       3URSRVHG,QWHUHVW
                                                                                                  %H3DLGRQ6HFXUHG             5DWH
                                                                                                          &ODLP

                 7KLVGHEWKDVQRQILOLQJFRGHEWRU V RWKHUWKDQDVSRXVH
                             1DPH V RIRWKHULQGLYLGXDO V OLDEOH
                             3RVWSHWLWLRQSD\PHQWVWREHPDGHE\         7UXVWHHRU
                                                                            1RQILOLQJFRGHEWRU
                 1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ + 

          E 0RGLILHG6HFXUHG&ODLPV

                 1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ &  E LVQRWWREHFRPSOHWHG

              6HFXUHGFUHGLWRUVOLVWHGEHORZVKDOOEHSDLGWKHDPRXQWVKRZQEHORZDVWKH$PRXQWWR%H3DLGRQ6HFXUHG&ODLPZLWK
              VXFKDPRXQWSDLGWKURXJKWKH3ODQSD\PHQWV,IWKH3ODQSURSRVHVWRSD\D6HFXUHG&ODLPOHVVWKDQWKHDPRXQWDVVHUWHGLQ
              WKHSURRIRIFODLPWKHQWKHKROGHURIWKH6HFXUHG&ODLPPXVWILOHDWLPHO\REMHFWLRQWRWKH3ODQ,IWKHSULQFLSDODPRXQWRI
              WKHFUHGLWRU¶VSURRIRIFODLPLVOHVVWKDQWKH$PRXQWWR%H3DLGRQ6HFXUHG&ODLPWKHQRQO\WKHSURRIRIFODLPDPRXQWZLOO
              EHSDLG,IDFUHGLWRUIDLOVWRILOHDVHFXUHGFODLPRUILOHVDZKROO\XQVHFXUHGFODLPWKHGHEWRUPD\GHOHWHWKHSURSRVHG
              SD\PHQWRIDVHFXUHGFODLPLQWKHRUGHUFRQILUPLQJSODQ7KHKROGHURIDWLPHO\ILOHGVHFXUHGFODLPZLOOUHWDLQLWVOLHQXQWLO
              WKHHDUOLHURISD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHUQRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHUDWZKLFK
              WLPHWKHOLHQZLOOWHUPLQDWHDQGVKDOOEHUHOHDVHGE\WKHFUHGLWRU$Q\SURSRVHGDGHTXDWHSURWHFWLRQSD\PHQWVDUHSURYLGHG
              IRULQ6HFWLRQ &  D DERYH

                  &UHGLWRUDQG3URSHUW\'HVFULSWLRQ                  'HEW$PRXQW      9DOXHRI&ROODWHUDODQG      $PRXQWWR%H        3URSRVHG
                                                                                        9DOXDWLRQ0HWKRG           3DLGRQ6HFXUHG       ,QWHUHVW
                                                                                                                        &ODLP              5DWH



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6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                   %HVW&DVH%DQNUXSWF\




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                  &UHGLWRUDQG3URSHUW\'HVFULSWLRQ                  'HEW$PRXQW         9DOXHRI&ROODWHUDODQG       $PRXQWWR%H     3URSRVHG
                                                                                           9DOXDWLRQ0HWKRG            3DLGRQ6HFXUHG    ,QWHUHVW
                                                                                                                            &ODLP           5DWH
               ,56                                                                                      
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               'DOODV7;'DOODV&RXQW\

                 1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ + 

          F /LHQ$YRLGDQFH

                 1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ &  F LVQRWWREHFRPSOHWHG

              7KHMXGLFLDOOLHQVRUQRQSRVVHVVRU\QRQSXUFKDVHPRQH\VHFXULW\LQWHUHVWVVHFXULQJWKHFODLPVOLVWHGEHORZLPSDLU
              H[HPSWLRQVWRZKLFKWKHGHEWRU V ZRXOGKDYHEHHQHQWLWOHGXQGHU&RGH E 8QOHVVRUGHUHGRWKHUZLVHDMXGLFLDOOLHQ
              RUVHFXULW\LQWHUHVWVHFXULQJDFODLPOLVWHGEHORZZLOOEHDYRLGHGWRWKHH[WHQWWKDWLWLPSDLUVVXFKH[HPSWLRQVXSRQHQWU\RI
              WKHRUGHUFRQILUPLQJWKHSODQ7KHDPRXQWRIWKHMXGLFLDOOLHQRUVHFXULW\LQWHUHVWWKDWLVDYRLGHGZLOOEHWUHDWHGDVDQ
              XQVHFXUHGFODLPLQ6HFWLRQ &  WRWKHH[WHQWDOORZHG7KHDPRXQWLIDQ\RIWKHMXGLFLDOOLHQRUVHFXULW\LQWHUHVWWKDWLV
              QRWDYRLGHGZLOOEHSDLGLQIXOODVDVHFXUHGFODLPXQGHUWKHSODQ6HH&RGH I DQG%DQNUXSWF\5XOH G ,IPRUH
              WKDQRQHOLHQLVWREHDYRLGHGSURYLGHWKHLQIRUPDWLRQVHSDUDWHO\IRUHDFKOLHQ$OOLQIRUPDWLRQIRUWKHDYRLGDQFHRIWKH
              OLHQ V PXVWEHSURYLGHG

 ,QIRUPDWLRQUHJDUGLQJMXGLFLDOOLHQRUVHFXULW\LQWHUHVW                          ,QIRUPDWLRQUHJDUGLQJFDOFXODWLRQRIOLHQDYRLGDQFHDQGWUHDWPHQW
                                                                                   RIUHPDLQLQJVHFXUHGFODLP

      3ULRULW\8QVHFXUHG&ODLPV2WKHU7KDQ'HEWRU¶V$WWRUQH\)HHV

            1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ &  LVQRWWREHFRPSOHWHG

              $OODOORZHGFODLPVHQWLWOHGWRSULRULW\WUHDWPHQWXQGHUVKDOOEHSDLGLQIXOOSURUDWD

          D 8QVHFXUHG'RPHVWLF6XSSRUW2EOLJDWLRQV7KH'HEWRUVKDOOUHPDLQFXUUHQWRQVXFKREOLJDWLRQVWKDWFRPHGXHDIWHUILOLQJ
             WKHSHWLWLRQ8QSDLGREOLJDWLRQVEHIRUHWKHSHWLWLRQGDWHDUHWREHFXUHGLQWKHSODQSD\PHQWV7KHDPRXQWWREHSDLGZLOOEH
             DGMXVWHGWRWKHFUHGLWRU¶VDOORZHGFODLPDPRXQWWKURXJKWKHFODLPSURFHVV,IWKHKROGHURIDGRPHVWLFVXSSRUWREOLJDWLRQ
             GLVDJUHHVZLWKWKHWUHDWPHQWSURSRVHGLQWKLV3ODQWKHKROGHUPXVWILOHDWLPHO\REMHFWLRQ

                                                   &UHGLWRU                                                 (VWLPDWHG$UUHDUDJH

          E 2WKHUXQVHFXUHGSULRULW\FODLPV

                                     &UHGLWRU                                  7\SHRI3ULRULW\'HEW                      (VWLPDWHG$PRXQW
               ,56                                                   86& D                               

                 1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ + 

      1RQSULRULW\8QVHFXUHG&ODLPV$OORZHGXQVHFXUHGQRQSULRULW\FODLPVVKDOOEHSDLGSURUDWDWKHEDODQFHRISD\PHQWVLIDQ\
        XQGHUWKH3ODQ7KHDPRXQWWREHSDLGRUDFWXDOO\SDLGPD\GLIIHUIURPWKH3ODQ$QDO\VLVGHSHQGLQJRQWKH3ODQFRQILUPDWLRQ
        SURFHVVDQGFODLPVDOORZDQFH

            1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ + 

 ' 6XUUHQGHUHG3URSHUW\

         1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ ' LVQRWWREHFRPSOHWHG

          'HEWRUVXUUHQGHUVWKHIROORZLQJSURSHUW\WRWKHVHFXUHGFUHGLWRU8SRQFRQILUPDWLRQRIWKLV3ODQRUH[FHSWDVRWKHUZLVH
          RUGHUHGE\WKH&RXUWEDQNUXSWF\VWD\VDUHOLIWHGDVWRWKHFROODWHUDOWREHVXUUHQGHUHG$Q\FODLPILOHGE\VXFKFUHGLWRUVKDOO
          UHFHLYHQRGLVWULEXWLRQXQWLOWKHFUHGLWRUILOHVDFODLPRUDQDPHQGHGSURRIRIFODLPWKDWUHIOHFWVDQ\GHILFLHQF\EDODQFH
          UHPDLQLQJRQWKHFODLP6KRXOGWKHFUHGLWRUIDLOWRILOHDQDPHQGHGGHILFLHQF\FODLPFRQVLVWHQWZLWKWKLVSURYLVLRQWKH7UXVWHH
/RFDO)RUP                                                      &KDSWHU3ODQ                                                   3DJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                    %HVW&DVH%DQNUXSWF\




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          QHHGQRWPDNHDQ\GLVWULEXWLRQVWRWKDWFUHGLWRU

                                                (QWLW\                                               %ULHI'HVFULSWLRQRI3URSHUW\

 ( 9HVWLQJ([FHSWDVVWDWHGLQWKLVSDUDJUDSKSURSHUW\RIWKHHVWDWHVKDOOYHVWLQWKH'HEWRUXSRQFRQILUPDWLRQRIWKH3ODQ

   7KHIROORZLQJSURSHUW\VKDOOYHVWLQWKH'HEWRUXSRQ3ODQFRPSOHWLRQ

                                                                     %ULHI'HVFULSWLRQRI3URSHUW\


   1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ + 

 ) 7D[5HWXUQV:KLOHWKHFDVHLVSHQGLQJWKH'HEWRUVKDOOSURYLGHWRWKH7UXVWHHDFRS\RIDQ\SRVWSHWLWLRQWD[UHWXUQZLWKLQ
    GD\VDIWHUILOLQJWKHUHWXUQZLWKWKHWD[DJHQF\7KH'HEWRUKDVILOHGDOOWD[UHWXUQVIRUDOOWD[DEOHSHULRGVGXULQJWKHIRXU\HDU
    SHULRGHQGLQJRQWKHSHWLWLRQGDWHH[FHSW
                                                          8QILOHG7D[5HWXUQV


 * )XQGLQJ6KRUWIDOO'HEWRUZLOOFXUHDQ\IXQGLQJVKRUWIDOOEHIRUHWKH3ODQLVGHHPHGFRPSOHWHG



 + 1RQVWDQGDUG3URYLVLRQV$Q\1RQVWDQGDUG3URYLVLRQLQFOXGHGKHUHLQPXVWQRWEHLQFRQVLVWHQWZLWKWKH&RGHRU/RFDO5XOHVDQG
    PXVWLGHQWLI\WKHSURYLVLRQRIWKH3ODQEHLQJPRGLILHGWKHSURSRVHGPRGLILFDWLRQDQGWKHMXVWLILFDWLRQIRUWKHPRGLILFDWLRQ7KH
    'HEWRUVXEPLWVWKHIROORZLQJSURYLVLRQVWKDWYDU\IURP6HFWLRQ & RIWKH/RFDO3ODQ)RUP

         1RQH,I³1RQH´LVFKHFNHGWKHUHVWRI6HFWLRQ + LVQRWWREHFRPSOHWHG
         3URYLGHWKHGHWDLOUHTXLUHGDERYH

                                                                       1RQVWDQGDUG3URYLVLRQV

  3XUVXDQWWRWKH1RWLFHRI5HTXHVWIRU0RUWJDJH)RUEHDUDQFH'XHWRWKH&RYLG3DQGHPLFIRUGD\V &ODLP 'NW
 WKHGHEWRUVDUHLQ0RUWJDJH)RUEHDUDQFHIURPPRQWK 0D\ WRPRQWK 2FWREHU 1RFRQGXLWPRUWJDJHSD\PHQWV
 ZLOOEHVHQWE\WKH7UXVWHH0RUWJDJHSD\PHQWVPD\UHVXPHLQPRQWK 1RYHPEHU XQOHVVIXUWKHUPRUWJDJHIRUEHDUDQFHLV
 JUDQWHG1RFRQGXLWPRUWJDJHSD\PHQWVZLOOEHVHQWE\WKH7UXVWHHIRUWKHUHPDLQLQJPRQWKVRIWKHSODQZKHWKHURUQRWDGGLWLRQDO
 IRUEHDUDQFHLVJUDQWHG

  3XUVXDQWWR7KH&RURQDYLUXV$LG5HOLHIDQG(FRQRPLF6HFXULW\$FW &$5(6$FW HQDFWHGRQ0DUFK3ODQSD\PHQW
 GXUDWLRQLVLQFUHDVHGWRPRQWKV

   &UHGLWRU 9LFWRULD *XQYDOVRQ KDV ILOHG D 3URRI RI &ODLP >&ODLP 1R @ ³&ODLP´  LQ &DVH EN 6XFK FODLP LQ WKH
 DPRXQWRILVDOORZHGDVDQXQVHFXUHGQRQSULRULW\FODLPKRZHYHUVXFK&ODLPLVVXEMHFWWRSRWHQWLDOGLVDOORZDQFHLQ
 ZKROHRULQSDUWDVDUHVXOWRIUHVROXWLRQRIFLYLOFODLPVEHWZHHQWKH'HEWRUVDQGVXFK&UHGLWRUSHQGLQJEHIRUHWKH8QLWHG6WDWHV
 'LVWULFW&RXUWIRUWKH'LVWULFWRI1HYDGD/DV9HJDV'LYLVLRQ7KHWUHDWPHQWRIVXFK&UHGLWRUPD\EHLPSDFWHGDVDUHVXOWRIVXFK
 FLYLO SURFHHGLQJV RU WKURXJK WHUPV RI VHWWOHPHQW ZKLFK PD\ KHUHDIWHU EH DSSURYHG E\ WKH %DQNUXSWF\ &RXUW ,Q WKLV UHJDUG WKH
 7UXVWHHLVDXWKRUL]HGWRKROGGLVEXUVHPHQWVWRFUHGLWRUVKROGLQJXQVHFXUHGQRQSULRULW\FODLPVSHQGLQJUHVROXWLRQRIWKHFRPSHWLQJ
 FODLPV EHWZHHQ WKH 'HEWRUV DQG *XQYDOVRQ RU EDQNUXSWF\ FRXUW DSSURYDO RI D VHWWOHPHQW DJUHHPHQW UHVROYLQJ VXFK FODLPV LQ D
 PDQQHUWKDWSURYLGHVIRUDOORZDQFHRUGLVDOORZDQFH SDUWLDORULQIXOO RI*XQYDOVRQ¶VFODLP3HQGLQJEHIRUHWKH&RXUWDUH6HDOHG
 3URFHHGLQJVIRUSXUSRVHVRIWKH&RXUW¶VFRQVLGHUDWLRQRIWKHWHUPVRID&RQILGHQWLDO6HWWOHPHQW$JUHHPHQW ³&6$´ 7KH&RXUWKDV
 EHHQ DGYLVHG WKDW WKH WHUPV RI VXFK &6$ SURYLGH IRU GLVDOORZDQFH RI *XQYDOVRQ¶V &ODLP LQ IXOO $OWKRXJK VXFK 6HWWOHPHQW
 $JUHHPHQWPD\LPSDFW*XQYDOVRQ¶V&ODLPVXFK6HWWOHPHQW$JUHHPHQWVKDOOQRWRSHUDWHLQDQ\PDQQHUVXFKDVWRQHJDWLYHO\LPSDFW
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 ,        3ODQ6XPPDU\,IWKHUHDUHGLVFUHSDQFLHVEHWZHHQWKH3ODQDQGWKLV3ODQ$QDO\VLVWKHSURYLVLRQVRIWKHFRQILUPHG3ODQ
          FRQWURO

                    7UXVWHH¶VFRPSHQVDWLRQ RI7RWDOSODQSD\PHQWVWR7UXVWHH                                               
                    $GPLQLVWUDWLYH([SHQVHV  &                                                                               
                    /HDVHVDQG([HFXWRU\&RQWUDFWV  &                                                                             
                     D &RQGXLW0RUWJDJH3D\PHQWV  &  F                                                                     
                     E $UUHDUDJH&ODLPV6HFXUHG6ROHO\E\5HDO3URSHUW\  &  F                                              
                     D &ODLPV6HFXUHGE\3HUVRQDO3URSHUW\RU&RPELQDWLRQRI5HDO 3HUVRQDO3URSHUW\ 
                      &  8QPRGLILHG                                                                                              
                     E &ODLPV6HFXUHGE\3HUVRQDO3URSHUW\RU&RPELQDWLRQRI5HDO 3HUVRQDO3URSHUW\                        
                      &  0RGLILHG
                    3ULRULW\8QVHFXUHG&ODLPV  &                                                                             
                    8QVHFXUHG1RQSULRULW\&ODLPV  F                                                                         
                    7RWDORI3ODQ3D\PHQWVWR7UXVWHH                                                                          

 -        6HFWLRQ$QDO\VLV

                   %HVW,QWHUHVWRI&UHGLWRUV7HVW

                D      9DOXHRI'HEWRU¶VLQWHUHVWLQQRQH[HPSWSURSHUW\                                                          
                E      3OXV9DOXHRISURSHUW\UHFRYHUDEOHXQGHUDYRLGDQFHSRZHUV                                                     
                F      /HVV(VWLPDWHG&KDSWHUDGPLQLVWUDWLYHH[SHQVHV                                                          
                G      /HVV$PRXQWSD\DEOHWRXQVHFXUHGSULRULW\FUHGLWRUV                                                     
                H      (TXDOV(VWLPDWHGDPRXQWSD\DEOHWRXQVHFXUHGQRQSULRULW\FODLPVLI'HEWRUILOHG&KDSWHU               


          6HFWLRQ E $QDO\VLV

            D 0RQWKO\'LVSRVDEOH,QFRPH)RUP%& LIOHVVWKDQWKHQVWDWH                                         
            E $SSOLFDEOH&RPPLWPHQW3HULRG                                                                                             
            F 7RWDORI/LQH D DPRXQW[                                                                                  
   (VWLPDWHG3D\PHQWWR8QVHFXUHG1RQSULRULW\&UHGLWRUV8QGHU3ODQ                                                           

&HUWLILFDWLRQE\'HEWRU V DQG$WWRUQH\IRU'HEWRU V 1RFKDQJHVZHUHPDGHWRWKH0RGHO3ODQRWKHUWKDQWKHSRVVLEOH
LQFOXVLRQRIUHOHYDQW1RQVWDQGDUG3URYLVLRQVLQ6HFWLRQ + 


 'DWHG 6HSWHPEHU

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 &$7+(5,1($11(:,//,$0621                                                    52%(57/$1&$67(5:,//,$0621,,,
 'HEWRU                                                                       'HEWRU

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 0DUN:HVEURRNV
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